Division of Health Service Regulation
Mental Health Licensure and Certification
12 Barbetta Drive * Asheville, North Carolina 28806

Phone 828-665-8705 * Fax 828-670-5040
http://www.ncdhhs.gov/dhsr/
Beverly Eaves Perdue, Governor Stephanie Alexander, Chief
Lanier M. Cansler, Secretary Phone: 919-855-3795

Fax: 919-715-8076

March 23, 2010

Ms. Graham Shannonhouse, Executive Director
Trails Carolina

500 Winding Gap Rd.

Lake Toxaway, NC 28747

Re: — Annual and Complaint Survey completed March 4, 2010
Trails Carolina, 500 Winding Gap Rd. Lake Toxaway, NC 28747
MHL # 088-020
E-mail Address: gshannonhouse@trailscarolina.com
Intake #NC00062564

Dear Ms. Shannonhouse:

Thank you for the cooperation and courtesy extended during the annual and complaint survey
completed March 4, 2010. The complaint was substantiated.

Enclosed you will find all deficiencies cited listed on the Statement of Deficiencies Form. The
purpose of the Statement of Deficiencies is to provide you with specific details of the practice
that does not comply with state regulations. You must develop one Plan of Correction that
addresses each deficiency listed on the State Form, and return it to our office within ten days of
receipt of this letter. Below you will find details of the type of deficiencies found, the time frames
for compliance plus what to include in the Plan of Correction.

Type of Deficiencies Found

e Type B rule violation is cited for 10A NCAC 27D .0304(a) Client Rights-Harm, Abuse,
Neglect. Tag # 512

e All other tags cited are standard level deficiencies.

Time Frames for Compliance

e Acompleted Plan of Correction addressing all cited deficiencies must be returned to our
office within ten days of receipt of this letter.

e Type B violation must be corrected within 45 days from the exit date of the survey,
which is April 19, 2010 Pursuant to North Carolina General Statute § 122C-24.1, failure
to correct the enclosed deficiency by the 45" day from the date of the survey may result
in the assessment of an administrative penalty of $200.00 (Two Hundred) against Trails
Carolina for each day the deficiency remains out of compliance.

e Standard level deficiencies must be corrected within 60 days from the exit of the
survey, which is May 3, 2010.

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March 23, 2010
Trails Carolina
Trails Carolina, LLC

What to include in the Plan of Correction

e Indicate what measures will be put in place to correct the deficient area of practice (i.e.
changes in policy and procedure, staff training, changes in staffing patterns, etc.).
Indicate what measures will be put in place to prevent the problem from occurring again.
Indicate who will monitor the situation to ensure it will not occur again.
Indicate how often the monitoring will take place.
Sign and date the bottom of the first page of the State Form.

Make a copy of the Statement of Deficiencies with the Plan of Correction to retain for your
records.

Send the original completed form to our office at the following address within 10 days of receipt
of this etter.

Mental Health Licensure and Certification Section
NC Division of Health Service Regulation
12 Barbetta Drive
Asheville, NC 28806 ~

A follow up visit will be conducted to verify all violations have been corrected. If we can be of
further assistance, please call Scott Conrad, Team Leader at 828-665-8705 ext. 129.

Sincerely,

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S&ott Conrad, LCSW Fred Jodry, MA A
Facility Survey Consultant II Facility Survey Consultant |

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Noelle Vorus, LCSW

Facility Survey Consultant |

Mental Health Licensure Branch

Enclosures

Cc:File

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An Equal Opportunity / Affirmative Action Employer
